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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 01-120-CIV-GOLD/SIMONTON

x

 

NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF .
COLORED PEOPLE, INC. by its FLORIDA STATE mieu
CONFERENCE OF BRANCHES, et al., se

Plaintiffs, SEP 4:

  

VS. CLARENCE MAAS
CLERK, USDC / Lor Li VIA

JIM SMITH, Secretary of State of Florida; et al.,

Defendants.

 

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NOTICE OF FILING FULLY EXECUTED SETTLEMENT AGREEMENT
BETWEEN PLAINTIFFS AND DEFENDANT PAM IORIO

Plaintiffs hereby give notice of filing the attached fully executed Settlement
Agreement between Plaintiffs and Defendant Pam Iorio, dated August 30, 2002, and state
as follows:

1. On September 3, 2002, Plaintiffs submitted a Notice of Filing a copy of
the Settlement Agreement between Plaintiffs and Defendant Pam Iorio. In that Notice,
Plaintiffs indicated that an original copy of the agreement would be filed subsequently.

2. Attached herein is an original Settlement Agreement between Plaintiffs

and Defendant Pam Iorio, bearing original signatures from both parties.

Dated: September 16, 2002

 
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Respectfully submitted,

Barbara Arnwine
Thomas J. Henderson*
Anita S. Ho kiss*

Lon Outzs Borgen*”

Cara Fineman*

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SETTLEMENT AGREEMENT
NAACP ET AL. V. SMITH ET AL., CASE NO. 01-0120-CIV
GOLD/SIMONTON

In a joint effort to resolve any and all pending claims, the named Plaintiffs in the above-styled lawsuit,
and Defendant Pam Iorio, Hillsborough County Supervisor of Elections (“The Supervisor”), agree and
stipulate as follows:

I. INTRODUCTION

A. Nothing contained in this Settlement Agreement (“Agreement”) shall be considered or
interpreted to be an admission of liability or wrongdoing by the Supervisor. The
Supervisor has taken an oath to support, protect and defend the Constitution and the
laws of the United States and of the State of Florida. The Supervisor is dedicated to act
in a manner consistent with the requirements of federal, state, and local election law.
Plaintiffs have not alleged that the Supervisor acted in a purposefully discriminatory
manner toward any group. It is further understood by the Parties that following the
November 2000 general election, new laws, rules, and procedures were implemented in
Florida that affect the registration and voting process. The Supervisor contends that
these changes have made necessary some of the practices called for within this
Agreement. This Agreement is entered into by the Parties in order to resolve this
litigation in the most effective and efficient manner for all Parties and in mutual
recognition that it is in the Parties’ best interest to resolve this matter in lieu of incurring
the expense and time of a trial. To the extent that this Agreement states that the
Supervisor will “continue” a practice or policy, such language is not an admission by
Plaintiffs that the Supervisor has previously undertaken such a practice or policy, nor do
Plaintiffs deny such, but reflects the Supervisor’s belief that she is merely continuing
practices that she engaged in prior to this Agreement.

B. Unless otherwise set forth herein, nothing in this Agreement creates any administrative
duties or judicial remedies or causes of action, with respect to Florida voter registration,
election procedures or list maintenance other than exist under relevant state and federal
law on the date this Agreement is executed by the Parties. Nothing in this Agreement
creates any liability, cause of action or enforcement right under Section IT.H of the
Agreement against the Supervisor, arising from or related to any action or inaction by
third parties, including without limitation the Secretary of State, Division of Elections,
Florida Department of Children and Families, Florida Department of Highway Safety
and Motor Vehicles, and any Supervisor of Elections of any county other than
Hillsborough County, Florida, in response to or as a result of actions undertaken by the
Supervisor pursuant to the terms of this Agreement.

Cc. The Supervisor’s obligations under this Agreement shall not apply to municipal
elections that are not conducted in conjunction with a countywide election.

II. AGREEMENT

In exchange for the Plaintiffs’ agreement to file a voluntary dismissal with prejudice of this action
against the Supervisor, the Supervisor agrees:
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A. Administration of Voting at Precincts

1. To continue to maintain a list, within each precinct register, of active and
inactive voters within each precinct.

2. At least 30 days before each federal, state, or county election, beginning with the
2002 General Election, the Supervisor will provide to Plaintiffs’ counsel and
make available to the general public a report and supporting documents
containing (a) plans for improving the communications system between the
polling places and the Supervisor of Election’s office, including the number of
phone lines (b) which precincts will have computers, the criteria used for
assigning the computers to the precincts, and the method for accessing data, and
(c) the method by which voters who reside and are registered in Hillsborough
County who appear at the wrong precinct will be assisted in finding the location
of their correct precinct and polling place.

3. The Supervisor plans to gradually increase the number of laptop computers and
technicians to operate the computers at precincts. Increase will depend on
funding and successful recruitment of personnel. The Supervisor will allocate
75 laptop computers for use at precincts during the 2002 General Election and
will assign qualified personnel to operate the computers.

4. To continue to assign at all times at least one poll worker to each polling site
who is trained to instruct voters on the use of the voting equipment.

5 To continue not to post any sign that states that a voter “must” have photo
identification in order to cast a ballot and to continue to provide a form at the
check-in table that a voter can complete if he or she does not have any photo
identification or does not have identification of the type approved under Florida
law.

6. Pursuant to Florida’s Public Records Law, Chapter 119.07(1)(a), and upon
request and without charge to provide to anyone who tries but is not allowed to
vote during such election a copy of his or her voter affirmation form or other
similar form, along with an explanation for the basis for his or her not being
allowed to vote within 60 days of the request.

7. To continue the practice of requesting that all poll Clerks complete a survey
regarding election day administration and/or the operations at the precinct
during the election, after each election, and to continue to make comment cards
available at each precinct, for anyone to complete and return to the Supervisor.

B. Provisional Ballots

1. To continue to train all poll clerks on the use of provisional ballots, including
the following elements:

a. To determine if a voter is in the correct precinct based on the voter’s
current residential address before giving the voter a provisional ballot,
and if the voter is not in the correct precinct, to direct the voter to the
correct precinct;
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b. To instruct voters that their ballot will not be counted if they are in the
wrong precinct;

c. To offer a provisional ballot to any voter who does not receive a regular
ballot, even if the Supervisor of Elections’ data indicates that the voter is
ineligible to vote;

d. To offer a provisional ballot to any voter for whom the poll worker is not
able to determine eligibility, for example, based on an inability to
communicate with the Supervisor of Elections’ office or otherwise
review countywide voter registration data on Election Day;

e. To instruct voters to accurately complete the provisional ballot envelope
by supplying all requested information, in order to assist in determining
whether or not the voter is eligible to vote, as outlined in section
101.048, Florida Statutes.

2. To continue the current practice, following each election, to provide a written
explanation by first class mail to the address on the Provisional Ballot Voter's
Certificate and Affirmation if available, and if not available, to the address on
record in the Supervisor’s office, for those persons whose provisional ballots are
not counted, disqualified, or “Rejected as Illegal,” pursuant to section
101.048(2)(b) of the Florida Statutes, of the reason(s) for the rejection of the
provisional ballot—Beginning with the November 2002 general election, the
Supervisor will make reasonable efforts to provide such explanation in a timely
manner before the book closing date for the next scheduled election, so long as
such book closing date is at least thirty days after the date of the election in
which the subject provisional ballots were cast. Should circumstances prevent
completion of this task in a timely manner for all provisional ballots, such
failure shall not constitute a breach of the Agreement.

3. To continue to provide notice of the time and date of the canvassing board

meeting where the validity of provisional ballots will be determined pursuant to
section 102.141(2), Florida Statutes.

C. Voter Education

1. To continue, upon request, to conduct workshops for persons interested in
engaging in voter registration drives, including information regarding
provisional ballots.

2. To continue outreach activities consistent with Rule 1S-2.033, Florida

Administrative Code.

3. To continue to work to develop plans to expand voter registration outreach to all
voters, including minorities within the community.
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D. Voter Registration

1, To continue to make reasonable efforts to process (including the mailing of
voter registration cards) voter registration applications and registration changes
within 30 days of receipt of the application.

2. To continue to make reasonable efforts to mail voter registration cards, for all
new voter registration applications received by book closing date for that
election, at least 10 days before the election. To continue to make reasonable
efforts to process registration changes received by the book closing date, prior to
Election Day, even if new registration cards cannot be sent to those voters, to
ensure that on Election Day every eligible voter whose registration or
registration change was timely received, is on the voter rolls with their current
address and will be able to vote. Inability to meet these deadlines will not
constitute a breach of this Agreement.

E. List Maintenance

1. To continue to comply with the Supervisor’s legal duty to conduct list
maintenance in conformance with all state and federal laws. Further, the
Supervisor will follow the applicable list maintenance provisions specified in
Section III and IV of the Settlement Agreement, dated August 30, 2002,
between named Plaintiffs in this lawsuit and the Florida Secretary of State and
the Director of the Division of Elections and in communication(s) issued by the
Secretary of State or the Division of Elections pursuant thereto.

2. To provide to Plaintiffs an electronic list of those voters who were placed in
canceled status in Hillsborough County as a result of their being in inactive
status and failing to vote in the November 7, 2000 election, as the second
general election in which such persons did not vote after being placed in inactive
status. The list will not include any such persons whose status changed to
deceased, active, or other status, after having been placed in canceled status as
described above.

3. To not remove from the voter rolls, or deny registration to, any ex-felon based
on a felony conviction outside the State of Florida if the Supervisor knows that
such individual’s felony conviction occurred in a state that grants automatic
restoration of rights to those with felony convictions (including the states
identified pursuant to Section III.D of the Settlement Agreement between
Plaintiffs and the Secretary of State and the Division of Elections) unless (a)
directed differently by the Division or (b) the Court issues a ruling to the

contrary.
F. Ongoing Consultation
1. In accordance with the Supervisor’s current practices of meeting with all

members of the public, to meet with Hillsborough County named Plaintiffs and
their counsel on at least one occasion at a mutually convenient time to discuss,
address, and correct, to the extent possible, the problems encountered by
Hillsborough County named Plaintiffs. Plaintiffs have not yet requested a

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meeting with the Supervisor, and the Supervisor will meet with plaintiffs at a
mutually convenient time. Plaintiffs’ counsel shall contact the Supervisor’s
counsel to schedule the meeting.

2. In accordance with the Supervisor’s current practices, to continue to meet with
representatives of the local NAACP regularly prior to the 2002 General Election
and 2004 Elections and solicit their views on what steps are needed to ensure
successful elections.

G. Implementation of Statewide Relief

1. To comply with lawful directions from the Secretary of State which the
Supervisor is obligated to follow by law implementing any further relief
obtained in this litigation, whether through agreement, settlement, or Court
order.

2. The Parties agree to incorporate, into this Agreement, Section VIII as fully set
forth in the Settlement Agreement, dated August 30, 2002, between named
plaintiffs in this lawsuit and the Florida Secretary of State and the Director of
the Division of Elections.

H. Enforcement

1. The term of this Agreement shall extend through May 15, 2005S. The Parties
shall maintain copies of all documents relating to the satisfaction of this
Agreement through the May 15, 2005, end date of the Agreement.

2. Plaintiffs’ voluntary dismissal of their claims against the Supervisor is based and
conditioned on this Agreement and the performance of its obligations. Nothing
contained herein shall be interpreted to waive any claims Plaintiffs may make
against other Defendants in this litigation, including in particular State
Defendants. Unless specifically waived in the Agreement, Plaintiffs have not
waived and do not relinquish any rights under federal and state law.

3. Upon execution of the Settlement Agreement, the Parties will file a Joint Motion
for Approval of this Agreement and Dismissal With Prejudice pursuant to Rule
41(a)(2) of the Federal Rules of Civil Procedure along with a dismissal with
prejudice of all claims against the Supervisor. Upon approval of this
Agreement, the Parties will ask the Court to enter a Final Order dismissing with
prejudice all claims against the Supervisor consistent with the terms of this
Agreement which shall be attached to the Order of Dismissal. This Agreement
shall not be effective until entry of the Order dismissing the Supervisor with
prejudice. This Agreement is not a consent decree, nor shall it be construed as
such, and the Court shall not retain jurisdiction.

4. Notwithstanding the Order of Dismissal, the Parties agree that enforcement of
the Agreement shall proceed as follows:

a. If Plaintiffs believe that the Supervisor has materially breached the terms
of this Agreement, Plaintiffs’ counsel will provide a written notice via
traceable U.S. mail or private courier, including but not limited to
certified mail with return receipt requested or overnight mail (“Notice”)
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to the Supervisor of the provisions of this Agreement with which they
believe the Supervisor has not complied. Such notification shall be sent
by Plaintiffs within ten (10) business days of discovery of such alleged
breach, and a copy shall be forwarded to the Supervisor’s counsel. The
Supervisor agrees that, upon receipt of this Notice, the Supervisor will
conduct an investigation and respond, in writing, via one of the methods
set forth above, to Plaintiffs within ten (10) business days of receipt,
such response to be sent to the person who provided notice to the
Supervisor. There shall be no award of attorneys’ fees or costs to either
party for any actions/inactions taken at this stage, regardless of the
eventual outcome of the dispute.

b. If Plaintiffs reasonably believe that the response provided by the
Supervisor does not resolve the issue of alleged noncompliance, the
Parties may invoke mediation procedures as described in Chapter 9 of
the Local Rules of the United States District Court, Middle District of
Florida to resolve the matter; provided that Plaintiffs may not file an
action pursuant to paragraph 4c, unless mediation occurs or is waived by
both Parties. The mediation shall occur in Hillsborough County. The
costs of mediation shall be divided evenly between the Parties. Each
party to the mediation shall bear its own costs and attorneys’ fees.
Mediation must occur within thirty days of the Supervisor’s written
response to the Notice unless otherwise agreed in writing by the Parties.
For alleged violations which Plaintiffs, in good faith, reasonably believe
may result in immediate and irreparable harm to Plaintiffs, the Notice
shall so indicate this belief, and the Parties must then make reasonable
efforts to commence Mediation within five business days of the Notice.
Neither side is entitled to attorneys’ fees or costs for any time devoted to
this mediation process, regardless of outcome.

c. If the issue(s) of alleged noncompliance raised in the Notice is not
resolved during mediation, then Plaintiffs’ sole recourse is to file a
separate action for breach/enforcement of this Agreement in the United
States District Court for the Middle District of Florida to enforce the
Agreement’s terms. The Supervisor will not object to the filing of such a
case on the grounds of lack of jurisdiction, or seek to transfer this action
to state court. Plaintiffs will not seek to transfer any action under this
Agreement to any District Court other than the United States District
Court for the Middle District of Florida. Strict compliance with {
H(4)(a)-(b) is agreed by the Parties to be a condition precedent to the
filing of any such lawsuit. Neither Party may recover attorneys’ fees or
costs for any such action unless the noncompliance with this Agreement
that is the subject of the action is determined by the Court to constitute a
separate violation of federal or state law and such fees are provided for
pursuant to said law.

5. The terms of this Agreement are binding on the Supervisor and the Supervisor’s
successors. This Agreement may be enforced from the date of the Order of
Dismissal referred to in J H(3) until May 15, 2005.

 
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6. The Plaintiffs and Supervisor acknowledge that no election is error free. Should
the Plaintiffs or their counsel learn of any election related issue during the
conduct of any election in Hillsborough County during the term of this
Agreement and not otherwise covered by the terms of this Agreement, Plaintiffs
may contact the Supervisor, provide specific information on the issue to the
Supervisor, and afford an opportunity for the Supervisor to investigate the
matter. Within 30 days, Supervisor may meet with Plaintiffs, the aggrieved
individuals, and/or their counsel prior to the initiation of any litigation by
Plaintiffs or their counsel against the Supervisor relating to any such issue not
covered by the terms of this Agreement.

I. Attorneys’ Fees and Costs
1. Each party to this Agreement shall bear its own attorneys’ fees and costs in this
action.
3. The Supervisor will waive all unpaid costs incurred to date by Plaintiffs to

obtain public records including photocopying fees and costs.
J. Public Statement and Press Release

1. The Parties agree that neither Party will issue any public statement regarding
this Agreement until it is formally presented to the Court for its approval.

2. Upon presentation of this Agreement to the Court, the Parties will issue a joint
press release regarding the settlement agreement, the contents of which will be
agreed upon by the Parties in advance.

K. Execution
The Parties having reviewed the above terms and conditions, and being in mutual

agreement thereto, do hereby execute this Agreement by counterpart in the following
manner,

Dated: August 30, 2002

Pam lorio, Supervisor of Elections Anita Hodgkiss

Hillsborough County, Florida Lawyers’ Committee For Civil Rights
601 E. Kennedy Blvd., 16" Floor 1401 New York Ave., N.W., Ste. 400
Tampa, FL 33602 Washington, D.C. 20005

For Defendant For Plaintiffs

 
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CERTIFICATE OF SERVICE

I HEREBY certify that a true and correct copy of the foregoing was served

by U.S. Mail on the following counsel on this 16th day of September, 2002:

John W. Little, III, Esq.

Walter J. Harvey, Esq.

Steel Hector & Davis, LLP
Attomeys for Secretary of State and
Director, Division of Elections
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x Obese

Lori Outzs Botgen, EM.

 
